                              Case 19-42210        Doc 10     Filed 08/25/19   Entered 08/25/19 09:38:01        Desc Main Document   Page 1 of 2



 Fill in this information to identify your case:

  Debtor 1                   Karen                  Ann                  Patterson
                             First Name             Middle Name          Last Name

  Debtor 2
  (Spouse, if filing)        First Name             Middle Name          Last Name

  United States Bankruptcy Court for the:                            Eastern District of Texas

  Case number                           19-42210                                                                                        ❑    Check if this is an
  (if known)                                                                                                                                 amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                                      12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier, unless
the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known).



 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information below.
     Identify the creditor and the property that is collateral                 What do you intend to do with the property that secures a Did you claim the property as
                                                                               debt?                                                     exempt on Schedule C?

    Creditor’s                                                                 ❑ Surrender the property.                                  ❑ No
    name:                 Wells Fargo Home Mortgage
                                                                               ❑ Retain the property and redeem it.                       ✔ Yes
                                                                                                                                          ❑
    Description of        8709 Papa Trail Mckinney, TX 75070                   ✔ Retain the property and enter into a
                                                                               ❑
    property                                                                         Reaffirmation Agreement.
    securing debt:
                                                                               ❑ Retain the property and [explain]:

    Creditor’s                                                                 ❑ Surrender the property.                                  ✔ No
                                                                                                                                          ❑
    name:                 Flagship Credit Acceptance
                                                                               ❑ Retain the property and redeem it.                       ❑ Yes
    Description of        2015 Lexus RX350                                     ✔ Retain the property and enter into a
                                                                               ❑
    property                                                                         Reaffirmation Agreement.
    securing debt:
                                                                               ❑ Retain the property and [explain]:




Official Form 108                                           Statement of Intention for Individuals Filing Under Chapter 7                                           page 1
                            Case 19-42210       Doc 10     Filed 08/25/19     Entered 08/25/19 09:38:01   Desc Main Document      Page 2 of 2


 Debtor 1             Karen                Ann                       Patterson                                     Case number (if known) 19-42210
                      First Name           Middle Name                Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the information
 below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an unexpired personal
 property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                                Will the lease be assumed?
    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal property that
   is subject to an unexpired lease.



✘                     /s/ Karen Ann Patterson                         ✘
    Signature of Debtor 1                                                   Signature of Debtor 2


    Date 08/21/2019                                                         Date
            MM/ DD/ YYYY                                                           MM/ DD/ YYYY




Official Form 108                                        Statement of Intention for Individuals Filing Under Chapter 7                                           page 2
